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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
    In re:                                                      )      Chapter 11
                                                                )
    COMPUTE NORTH HOLDINGS, INC., et al.,1                      )      Case No. 22-90273 (MI)
                                                                )
                                                                )      (Jointly Administered)
                                    Debtors.                    )
                                                                )

                    SUNBELT SOLOMON SERVICES, LLC’s
    OBJECTION TO ASSUMPTION AND ASSIGNMENT OF CONTRACTS AND CURE
                  AMOUNTS AND RESERVATION OF RIGHTS

             1.    Sunbelt Solomon Services, LLC (together with Solomon Corporation and its other

affiliated parties in interest, “Solomon”), a significant supplier and creditor of the Debtors, hereby

objects to the assumption and assignment of its contracts with the Debtors, including Compute

North LLC (“Compute North” and together with its debtor affiliates in the above-captioned

chapter 11 cases, the “Debtors”). The assumption and assignment of such contracts is identified

in the Debtors’ Notice of Filing of Cure Schedule in Connection with Proposed Sale [Docket No.

209] (the “Cure Notice,” and the Cure Schedule appended thereto as Exhibit A, the “Cure

Schedule”), as supplemented by Debtors’ Notice of Filing of Supplemental Cure Schedule in

Connection with Proposed Sale [Docket No. 334] (the “Supplemental Cure Notice” and the




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  The Debtors in these Chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
numbers, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC (5551);
CN Atoka LLC (4384); CN Big Spring LLC (4397) CN Colorado Bend LLC (4610); CN Developments LLC (2570);
CN Equipment LLC (6885); CN King Mountain LLC (7190) CN Minden LLC (3722); CN Mining LLC (5223); CN
Pledgor LLC (9871); Compute North Member LLC (8639) Compute North NC08 LLC (8069); Compute North NY09
LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883); Compute North TX06 LLC (5921);
and Compute North TX10 LLC (4238). The Debtors’ service address for the purposes of these Chapter 11 cases is
7575 Corporate Way, Eden Prairie, Minnesota 55344.


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“Supplemental Cure Schedule” attached thereto as Exhibit A).2 Solomon expressly reserves its

rights to amend this objection (the “Objection”).

        2.       Solomon is one of the world’s largest providers of commercial and industrial

electrical distribution equipment. Once separately known as Sunbelt Transformer and Solomon

Corporation, Solomon is now a culmination of two companies joining to offer an unparalleled

breadth of product offerings and service capabilities.

        3.       The relationship between Solomon and the Debtors are governed by a series of

agreements (the “CN Contracts,” defined below). Under the CN Contracts, Solomon provided

and continues to provide the Debtors with customized high-voltage Padmount Transformers (the

“Transformers”), as well as Equipment rentals and Equipment servicing. Solomon’s

Transformers are used to transmit, distribute, and utilize alternating current (“AC”) voltage levels

through and between various electric circuits at high volumes. The Transformers are used to

transfer power at high voltages, which is more efficient than doing so at a low voltage, because it

reduces power loss due to heat. Critically, the Transformers are specially designed and built for

the Debtors’ use and cannot be easily or cheaply repurposed for another use.

        4.       The Debtors operate several facilities that collectively use hundreds of Solomon’s

CN Transformers. Solomon’s CN Transformers are used at multiple facilities hosted by Compute

North, including Greenville, Kearney, Wolf Hollow, Minden, and Corpus/Boot Strap.

        5.       Prior to September 22, 2022 (the “Petition Date”), Solomon entered into a series

of agreements with Compute North. These agreements include a December 20, 2021 Master Sale,

Rental and Services Agreement (the “Master Agreement”) and a series of subsequently-issued



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  The Supplemental Cure Notice and Supplemental Cure Schedule do not appear to identify any agreements between
the Debtors and Solomon. For the avoidance of doubt, Solomon objects to the Cure Notice and Cure Schedule in its
entirety, as supplemented, and as may be further supplemented or amended from time to time.


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Purchase Orders issued thereunder between 2021 and 2022 (the “P.O.s” and together with the

Master Agreement, the “CN Contracts”). Pursuant to the CN Contracts, Solomon delivered its

Transformers and issued corresponding invoices to Debtors in compliance with the Master

Agreement.

       6.      As evidenced by, among other things, Debtors’ Cure Schedule, Debtors have failed

to pay invoices for goods and services received on several occasions. Debtors’ failures to pay for

goods and services are defaults under the Master Agreement. See, e.g., Ex. 1, Master Agreement

§§ 2 (Nature of Base Agreement for Sales and Rentals of Equipment and for Services); 4

(Compensation; Change Orders); 9 (Items Particular to Rental Equipment). As shown herein,

based on the insufficient information provided by Debtors in their Notice of Cure Schedule,

Solomon is presently unable to determine whether Debtors plan to completely cure the amounts

due and owing to Solomon under the CN Contracts.

       7.      In their Notice of Cure Schedule, the Debtors identify two purported agreements

with Solomon: (1) the Master Agreement, for which a Cure Amount of $0.00 is noticed (See

Notice of Cure Schedule, at 110), and (2) A “Sunbelt Solomon SOW 01 20 2022,” for which a

Cure Amount of $1,717,771.48 is noticed (the “Alleged SOW”). Id. at 113. Solomon presumes

“SOW” stands for “Statement of Work,” but is unable to identify such Statement of Work between

it and the Debtors dated January 20, 2022, and despite its best efforts, has been unable to obtain

further information from the Debtors (and Debtors’ Financial Advisors) regarding this Alleged

SOW and the Cure Amount listed thereunder. Additionally, Solomon has been unable to determine

the legal and/or factual bases for the Debtors’ conclusion that the Cure Amount for the Master

Agreement is $0.00.

       8.      Solomon therefore files this Objection on several bases. First, Solomon has had




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insufficient time to confirm the existence of the Alleged SOW contract listed in the Notice of Cure

Schedule, and has been unable to get any clarification from the Debtors or their Financial Advisors

on this contract. Second, Solomon has had insufficient time to confirm the Cure Amounts listed in

the Cure Schedule for the alleged contracts between Solomon and the Debtors. Third, Solomon

objects to the lack of adequate assurance of future performance provided (and preserves its right

to supplement its objection to the same) based on Solomon’s present inability to ascertain the

identity of the potential assignee of the contracts to which Solomon is a party and whether any

such assignee is able to perform under such contracts (and cure the relevant defaults).

       9.      Finally, Solomon objects to the Cure Amount of $0.00 identified by Debtors for the

Master Agreement. Debtors must pay Solomon all amounts due and owing under the Master

Agreement in order to cure the defaults existing under the Master Agreement. See, e.g., Master

Agreement §§ 2, 4, 9.

       10.     Solomon reserves its rights to amend this Objection.

                                           Background

       11.     As introduced above, the business relationship between Solomon and the Debtors

are governed by the CN Contracts, composed of two types of agreements: the Master Agreement

and a variety of Purchase Orders. The CN Contracts set forth the parties’ rights and obligations for

each of the sites where Compute North uses Solomon’s Transformers.

       12.     The Cure Notice and Cure Schedule list a number of agreements (including the

Master Agreement) for potential assumption and assignment to an unknown third-party purchaser.

See Cure Notice and Cure Schedule. However, the Debtors have not disclosed to Solomon to whom

the CN Contracts will be assigned, or whether the agreements will be assigned at all. Moreover,

Solomon has been unable to determine what agreement(s) comprise the Alleged SOW.




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                                             Argument

I.     Debtors Must Cure Any Monetary and Non-Monetary Defaults Before Assuming and
       Assigning any Contract to Which Solomon is a Party, and Debtors Must Provide
       Adequate Assurance of the Assignee’s Ability to Perform Under the Contracts to Be
       Assigned.

       13.      Before the Debtors assume and assign any contract to which Solomon is a party—

including, for the avoidance of doubt, the CN Contracts—the Debtors must satisfy the standards

and requirements contained in Section 365 of the United States Code (the “Bankruptcy Code”).

Section 365 allows a debtor to assume and assign an executory contract to a third party, if the

debtor (i) cures any outstanding default under the contract or provides adequate assurance the

default will be promptly cured, (ii) compensates the counterparty to the contract for any pecuniary

loss or provides adequate assurance of compensation, and (iii) provides adequate assurance of the

assignee’s future performance of the contract. See 11 U.S.C. §§ 365(b)(1)(A)–(C), 365(f); see also

In re Tex. Health Enterprises Inc., 72 Fed. Appx. 122, 126 (5th Cir. 2003).

       14.     The Debtors’ cure obligation extends to monetary and non-monetary defaults under

a contract. 11 U.S.C. §§ 365(b)(1)(A)–(C), 365(f). To cure a monetary default under Section 365,

the Debtors must pay all amounts due under the contract. In re Network Access Solutions, Corp.,

330 B.R. 67, 76 (Bankr. D. Del. 2005). To determine the appropriate cure for a non-monetary

default, however, Courts rely on the contractual language and provisions in order to define “the

nature of a default and the cure it requires.”). Empire Equities Capital Corp., 405 B.R. 687, 691

(Bankr. S.D.N.Y. 2009) (citing In re Shangra-La, Inc., 167 F.3d 843, 848–49 (4th Cir. 1999)).

       15.     The burden of proof is on a Debtor to show it gave “adequate assurance.” In re Tex.

Health, 72 Fed. Appx. 126. “[W]hether a debtor has given adequate assurance is extremely fact-

specific.” Id. Courts have found the following factors helpful in this analysis: “whether the debtor’s

financial data indicated its ability to generate an income stream sufficient to meet its obligations,



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the general economic outlook in the debtor’s industry, and the presence of a guarantee.” Id.

(internal citations and quotations omitted); see also In re Liljeberg Enters., Inc., 304 F.3d 410,

438–39 (5th Cir. 2002) (same) (quoting Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d

1303, 1310 (5th Cir. 1985)).

       16.     When a debtor is assuming and then assigning a contract, the adequate assurance

analysis focuses on the ultimate assignee—rather than the Debtor—as the assignee is the party that

will continue performing the contract following assignment. See 11 U.S.C. § 365(f)(1)(B). In this

situation, requiring a showing of adequate assurance of future performance by the assignee

provides “needed protection to the non-debtor party because the assignment relieves the [debtor]

and the bankruptcy estate from liability for breaches arising after the assignment.” In re Fleming

Cos., Inc., 499 F.3d 300, 305 (3d Cir. 2007) (quoting Cinicola v. Scharffenberger, 248 F.3d 110,

120 (3d Cir. 2001)) (citing 11 U.S.C. § 365(k)). Stated differently, the statute protects a non-debtor

counterparty from losing the benefit of its bargain on account of an assignment in bankruptcy. See

id.; see also In re Nat’l Gypsum Co., 208 F.3d 498, 509 (5th Cir. 2000) (“Section 65(b)(1) provides

a guarantee to the non-debtor party . . . that as a condition to [the assumption or assignment of its

contract], any losses or defaults existing at the time will be satisfied either through a timely cure

or through reasonable assurances of future payment.”).

II.    Debtors Have Failed to Cure Outstanding Defaults or Provide Adequate Assurance
       of Future Performance to Solomon.

       17.     Despite listing multiple of Solomon’s CN Contracts (or alleged contracts) on the

Cure Schedule, the Debtors and their Financial Advisor have repeatedly failed to provide any

information—let alone sufficient information—to support a finding that outstanding defaults have

been cured, or of adequate assurance of future performance by the assignee with respect to any

such contract that the Debtors now seek to assume and/or assume and assign. In fact, from the



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Cure Notice and Cure Schedule, it appears to Solomon that the Debtors do not plan to cure any

amounts due and owing under the Master Agreement.

       18.     The Master Agreement serves as the “base agreement” between the parties, under

which they “can enter into multiple specific transactions” contemplated thereunder (including, for

the avoidance of doubt, for the purchase and sale of Transformers, and any related rentals and/or

service work). See Ex. 1, Master Agreement § 2(a). In the Master Agreement, the parties also

agreed Solomon would follow certain price quoting parameters for the Transformers, and Solomon

would be Compute North’s “preferred vendor for [T]ransformers.” Id. § 2(c). The term of the

Master Agreement is in effect for one (1) year from the Effective Date (as that term is defined

therein), “and from year-to-year thereafter until terminated by either Party[.]” Id. § 3.

       19.     The Master Agreement also contains certain invoicing and payment provisions.

Section 4 outlines the method and contents of invoicing by Solomon to Compute North and dictates

the “[p]ayment terms are net thirty (30) days from the date the invoice is received unless otherwise

agreed by the Parties.” See Ex. 1, Master Agreement § 4(b). Compute North is required to promptly

pay all undisputed invoices. Id. Moreover, the Master Agreement permits Solomon to “charge and

accrue interest on any past due amounts . . . at the lesser of one percent (1%) per month or the

maximum rate permitted by law.” Id. Any change orders to the scope or performance of Work

under the Master Agreement must be made in writing and comply with the requirements of the

Master Agreement. Id. § 4(c).

       20.     Section 9 of the Master Agreement governs Rental Equipment. Section 9(a) details

the Rental charge and billing parameters for any Rental Equipment leased to Compute North, as

well as Compute North’s payment obligations for such Rentals. See Ex. 1, Master Agreement §

9(a). Section 9(b) governs the return of Rental Equipment and Compute North’s financial




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obligations therefor. Id. § 9(b). And Section 9(c) requires Compute North to purchase and maintain

certain insurance on the Rental Equipment for the benefit of Solomon. Id. § 9(c).

       21.     As contemplated by the Master Agreement, Solomon and the Debtors ultimately

entered into a series of P.O.s, under which Debtors purchased certain Transformers from Solomon,

leased certain Equipment from Solomon, and obtained certain Equipment servicing work from

Solomon. See, e.g., Ex. 1, Master Agreement § 2(a). Solomon has timely invoiced Debtors for

these sales, leases, and services in accordance with the Master Agreement. See id. § 4, 9. Debtors’

failures to pay for goods and services within the time period specified under the Master Agreement

are defaults under the Master Agreement. See, e.g., id. §§ 2, 4(b)-(c), 9(a)-(b). Based on the

insufficient information provided by Debtors in their Notice of Cure Schedule, Solomon is

presently unable to determine whether Debtors plan to completely cure the amounts due and owing

to Solomon under the CN Contracts. Solomon further notes and objects that because there are

unpaid amounts that remain due to Solomon under the terms of the Master Agreement, the cure

amount for the Master Agreement cannot be $0.

       22.     Further, the identity of the assignee matters for the CN Contracts. At this time,

Solomon has no way of knowing whether an assignee has the requisite expertise, capabilities, or

experience to operate at scale the complex electrical circuits and power supply systems required

to run the Debtors’ mining operations. Nor does Solomon have any way of knowing whether a

potential assignee has any material conflicts of interest, is a direct or indirect competitor of

Solomon, or has commercial or legal interests adverse to Solomon. This information is critical to

Solomon, because Solomon’s Transformers (and other Equipment, as that term is defined) are

and/or contain protected intellectual property, which Solomon only shares with certain customers

(such as Compute North) and has a substantial business and legal interest in keeping confidential.




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Accordingly, Solomon reserves all rights to further supplement this Objection if and when it learns

the identity of the assignee of the CN Contracts or any other contract between Solomon and one

or more of the Debtors.

                                      Reservation of Rights

       23.      Solomon reserves the right to amend or supplement this Objection as necessary to,

among other things, (i) object to the assumption and assignment of any other executory contract

between Solomon and the Debtors included on any supplemental or amended Cure Schedule, (ii)

object to the proposed cure amounts thereunder, (iii) specifically object to the Alleged SOW and

the Cure Amount listed thereunder, and (iv) object to any other relief sought by the Debtors with

respect to any agreement to which Solomon and any of the Debtors are party. Solomon also

reserves its rights to object on any other grounds to the assumption or assignment of its agreements

with the Debtors, including the failure to provide adequate assurance of future performance or of

the ability to cure existing defaults, in accordance with the Bankruptcy Code, the Bidding

Procedures Order, and any other applicable law or order of this Court as may be applicable from

time to time.

DATED:          November 1, 2022              MAYER BROWN LLP
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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing instrument was duly
served by electronic transmission to all registered ECF users appearing in this case on November
1, 2022.


                                             /s/ Brandon F. Renken
                                             Brandon F. Renken




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